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                             UNITED STATES DISTRICT COURT FOR THE
                                EASTERN DISTRICT OF OKLAHOMA

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*52:(5$17,75867/,7,*$7,21
 12,,



                      V.                                                     PG5-6&05
                                                                CASE NUMBER: __________________________




 To the Clerk of this court and all parties of record:

        Please note my change of address as counsel in the above styled case for
 _____ plaintiff ____defendant (name of party) 1DQF\%XWOHU+DII3RXOWU\,QF-RKQQ\8SFKXUFK-RQDWKDQ:DOWHUV0HOLVVD:HDYHU0\OHV%:HDYHU
                                               _______________________________________________.

                      s/ 0DWWKHZ-*H\HU                   October 18, 2021
                      _______________________________________________________
                      Signature                                                                                 Date


                      0DWWKHZ-*H\HU
                      _______________________________________________________
                      Print Name


                      5RELQV.DSODQ//3
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                      Telephone

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                      _______________________________________________________
                      Internet E-mail Address
 6:20-md-02977-RJS-CMR Document 202 Filed in ED/OK on 10/18/21 Page 2 of 2




                                         Certificate of Service

                                              October 18, 2021 I electronically transmitted the
        ____ I hereby certify that on (date) ___________________,

attached document to the Clerk of Court using the ECF System for filing. Based on the records currently on

file, the Clerk of Court will transmit a Notice of Electronic Filing to the following ECF registrants: (insert names)
 $OOFRXQVHORIUHFRUG




        _____ I hereby certify that on (date) _________________, I served the attached document by

(service method) __________________________________________________________ on the

following, who are not registered participants of the ECF System: (insert names and addresses)




                                                          V0DWWKHZ-*H\HU
                                                          ________________________________
                                                          s/ Attorney Name
